 Fill   in   this information to identify the case:

 United States Bankruptcy Court for the:


      Western
 ________                                         Washington
                                 District of "'"'(s,_1a-1e,...)
                                                      ____      _

                                                                           11
 Case number (If known):---~------                                 Chapter__                                                                             □ Check if this is an
                                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                 04120

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1.     Debtor's name
                                                 The Argyle Capital Group LLC


 2.     All other names debtor used
        In the last 8 years
        Include any assumednames,
        trade names, and doing business
        as names

                                                   __ _         ...............................
                                                                                            ...............
                                                                                                       ..


 3.     Debtor's federal Employer
        Identification Number (EIN)



 4; Debtor's address                             Principalplace of business                                                      Mailingaddress, if different from principal place
                                                                                                                                 of business
                                                 411Jefferson St
                                                 Number          Street                                                          Number     Street



                                                                                                                                 P.O. Box
                                                 Seattle WA 98104-2315
                                                 City                                                         State   ZIP Code   City                       State       ZIP Code


                                                                                                                                 Location of principalassets, if differentfrom
                                                 King                                                                            principal place of business

                                                 County
                                                                                                                                 Number     Street




                                                                                                                                 City                       State       ZIP Code




 5. Debtor's website (URL)




Official Form 201                                       Voluntary Petition for Non-Individuals Filing for Ban~ruptcy                                                page 1

                       Case 20-11711               Doc 1               Filed 06/22/20                                 Ent. 06/22/20 10:10:03         Pg. 1 of 5
Debtor
                 The Argyle Capital Group LLC                                                   Case number{i fknown),
                                                                                                                   ____________                           _




 &.   Type of debtor
                                           eDCorporation (includinglimitec:lliability    Company (LLC) and Limited Liability Partnership(LLP))
                                           0 Partnership(excluding LLP)
                                               □ Other.Specify:    ________________________                                                        _


                                           A. Check one:
 7.   Describe debtor's business
                                               D Health Care Business(as defined in 11 U.S.C. § 101(27A))
                                               D Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               D Railroad (as defined in 11 U.S.C. § 101(44))
                                               D Stockbroker(as defined in.11 U.S.C. § 101(53A))
                                               D CommodityBroker (as defined in 11 U.S.C. § 101(6))
                                               D Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               gJ None of the above
                                           ~                        ~..M~!ili1l!i~~
                                               B:Checkall that apply:
                                               0   Tax-exemptentity (as described in 26 U.S.C. § 501)
                                               0   Investmentcompany, including hedge fund or pooled investmentvehicle (as defined in 15 U.S.C. ·
                                                   § 80a-3)
                                               D Investmentadvisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                           ~
                                               C. NAICS (North American IndustryClassification System} 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes
                                                                                                                   .
                                                   __          ~ssor of Real Estate
                                                            5311
  a. Under which chapter of the                Check one:
     Bankruptcy Code is the
         debtor filing?
                                               0   Chapter7
                                               D   Chapter9
                                               Kl Chapter 1t. Check all that apply.
       A debtor who is a "small business
       debtor" must check the first sub-                       iJ   The debtor is a small businessdebtor as defined in 11 U.S.C. § 101(510). and its
        box. A debtor as defined in                                 aggregate noncontingentliquidateddebts (excludingdebts owed to insidersor
        § 1182{1)who elects to proceed                              affiliates)are less than $2,725,625.If this sub-box is selected, attach the most
      · under subchapterV of chapter 11                             recent balance sheet, statementof operations,cash-flow statement,and federal.
        (whether or not the debtor is a                             income tax return or if any of these documentsdo not exist, follow the procedure in
        "small businessdebtor") must                                11 U.S.C. § 1116(1)(8).
        check the second sub-box.                              X
                                                               D    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                    noncontingentliquidateddebts (excludingdebts owed to insiders or affiliates)are
                                                                    less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                    Chapter 11. If this sub-box is selected, attachthe most recent balancesheet,
                                                                    statementof operations,cash-flowstatement,and federal income tax return, or if
                                                                    any of these documentsdo not exist, follow the procedure in 11 U.S.C.
                                                                    § 1116(1)(B).

                                                               D A plan is being filed with this petition.
                                                               0    Acceptancesof the plan were solicited prepetitionfrom one or more classes of
                                                                    creditors, in accordancewith 11 U.S.C. § 1126(b).

                                                               D    The debtor is requiredto file periodic reports (for example, 1OKand 1OQ) with the
                                                                    Securitiesand ExchangeCommissionaccordingto§ 13 or 15(d) oflhe Securities
                                                                    ExchangeAct of 1934. File the Attachmentto VoluntaryPetition for Non-IndividualsFiling
                                                                    for Bankruptcyunder Chapter 11 (Official Form 201A) with this form.

                                                               D    The debtor is a shell company as defined in the Securities ExchangeAct of 1934 Rule
                                                                    12b-2.
                                               D Chapter 12




  Official Form 201                                Voluntary Petitionfor Non-IndividualsFiling for Bankruptcy                               page 2

                    Case 20-11711               Doc 1         Filed 06/22/20           Ent. 06/22/20 10:10:03                 Pg. 2 of 5
Case 20-11711   Doc 1   Filed 06/22/20   Ent. 06/22/20 10:10:03   Pg. 3 of 5
                       The Argyle Capital Group LLC                                   Case numbe r (~""°""),_____           ___    _ _____    _
Debtor
             Name




       Signature of attorney         X                                                                          06/22/2020
 18.
                                           /s/ David A Petteys                                   Date
                                         Signature of attorney for debtor                                      MM      /DD /YYYY



                                           David A Petteys
                                         Printed nam e
                                           Stoll Petteys PLLC
                                         Firm name

                                           1455 NW Leary Way, Suite 400
                                         Number          Street

                                          Seattle                                                        WA               98104
                                         City                                                          State            ZIP Code


                                           (206) 876-7828                                                david@stollpetteys.com
                                         Contact phone                                                 Email address


                                          33157 -- Washington
                                         Bar number                                                    State




  Official Form 201                      Voluntary Petitionfor Non-Individuals Filing for Bankruptcy                                 page 6

                    Case 20-11711     Doc 1           Filed 06/22/20         Ent. 06/22/20 10:10:03                     Pg. 4 of 5
 Fill 1n this information    to identify the case and th1s filing:


               The Argyle Group LLC
 Debtor Name ________________________                                                              _

                                               Western
 United States Bankruptcy Court for the: _________                                    Wash._
                                                                        District of ___
                                                                                    (State)

 Case number !If /<nownJ:




Official Form 202
Declaration                   Under Penalty of Perjury for Non-Individual                                                    Debtors                 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and.submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included In the document,
and any amendments of those documents. This form must state the indiltidual's position or relationship to the debtor, the Identity of tlie
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result in fines up to $600,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 162, 1341,
1619, and 3671.



              Declaration and signature



          I am the president , another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership ; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          D    Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)

          D    ScheduleD: Creditors Who Have Claims Secured ~y Property (Official Form 206D)

          D    Schedule Elf: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          D    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          D    Schedule H: Codebtors (Official Form 206H)

          D    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          D    Amended Schedule


          D     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Officia l Form 204)


          X
          D                                                 2019 IRS Form 1065
               Other document that requires a declaration.______________________________                                                             _




          I d<dare ,,,.., peoalfyof petjmythatu,,          .. ;,...,~
                                                       to,,.,.                                     ~ '
          Executed on        G. I ~. Low
                            06/22/2020
                            MMI DD I YYYY
                                                               j( __
                                                                                     1
                                                                                         ;~___
                                                                                             a_
                                                                            IJil....::i,....,,
                                                                                    __ _,_,__       ,-=-- ··_-
                                                                                                            --------------
                                                                     Signature of individual signing o behalf of debtor




                                                                     Printed name

                                                                           (\A(),,J{J-sz.!L,
                                                                     ~
                                                                     P-os~it-iono
                                                                               -n-'orrte!ationship to debtor



Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors

                    Case 20-11711                Doc 1        Filed 06/22/20                     Ent. 06/22/20 10:10:03      Pg. 5 of 5
